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                                  4                                  UNITED STATES DISTRICT COURT

                                  5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                  7      SCOTT JOHNSON,
                                                                                         Case No. 21-cv-08470-PJH
                                  8                    Plaintiff,

                                  9             v.                                       ORDER OF DISMISSAL
                                  10     HWANAM LEE,                                     Re: Dkt. No. 17

                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




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                                  14          The plaintiff, by his counsel, advised the court that the parties have reached a

                                  15   provisional settlement of this case. IT IS HEREBY ORDERED that this case is dismissed

                                  16   without prejudice and all pending dates are vacated. However, if any party certifies to

                                  17   the court within 60 days that the settlement has not been finalized, this order shall stand

                                  18   vacated and this case shall be restored to the calendar to be set for trial.

                                  19          If no certification is filed, after passage of 60 days, the dismissal shall be with

                                  20   prejudice. The parties may, of course, substitute a dismissal with prejudice at any time

                                  21   during this 60-day period.

                                  22          IT IS SO ORDERED.

                                  23   Dated: May 24, 2022

                                  24                                                 /s/ Phyllis J. Hamilton
                                                                                     PHYLLIS J. HAMILTON
                                  25                                                 United States District Judge
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